                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )             No. 3:07-CR-157
                                                  )             (Phillips / Shirley)
AJAKIBIANI EARTH MCBAYNE,                         )
JOSEPH DEJON MANNING,                             )
AMANDA CRYSTAL STIGALL, and                       )
TITUS L. STIGALL,                                 )
                                                  )
                       Defendants.                )

                                 MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case came before the Court on February 12, 2008, upon Defendant

Titus Stigall’s Motion to Continue Trial [Doc. 36]. Attorney Kim Tollison appeared with Titus

Stigall. Attorney Ursula Bailey was present on behalf of Amanda Stigall, who was not present.

Attorney Steven Shope was present with defendant Joseph Manning. Attorney Kelly Johnson and

his client, Ajakibiani McBayne, were previously excused from the hearing. Assistant United States

Attorney Matthew Morris was present on behalf of the government. The government did not oppose

the request for continuance.

       At the hearing, Attorney Tollison stated that he understands from consultation with AUSA

Morris that the government had subpoenaed certain records from the Walmart computerized cash

register system. Attorney Tollison stated his belief that these records are important to issues that


                                                 1


Case 3:07-cr-00157-RLJ-CCS           Document 46 Filed 03/04/08            Page 1 of 5      PageID
                                           #: 146
may arise during the trial of this case, which involves an alleged conspiracy to pass counterfeit

currency at a particular Walmart computerized cash register operated by one of the defendants.

Attorney Tollison stated that he believes that a continuance is both necessary and is in Mr. Stigall’s

best interest. Attorney Tollison stated that he has discussed this matter with his client and Mr.

Stigall agrees that a continuance is necessary and in his best interest. Mr. Stigall confirmed his

understanding that he will remain in jail pending a new trial date.

       AUSA Morris agreed with Attorney Tollison’s description of the cash register records.

AUSA Morris informed the Court that the government has met with some difficulty obtaining the

needed records from Walmart, but is hopeful that the subpoena will produce more results. Given

the potential importance of these records, AUSA Morris agreed with the need to continue the trial

date. AUSA Morris stated that he will make every effort to secure the Walmart records as soon as

possible and, in turn, make this material available to defense counsel.

       Attorney Bailey stated that she has discussed the proposed trial continuance with Ms Stigall

and that the defendant is in agreement with the request. Attorney Bailey stated that she believes a

trial continuance is in Ms Stigall’s best interest and that her client agrees with this conclusion.

Attorney Bailey stated that Ms Stigall, who has been released pending trial, understands that she will

continue to be subject to the same conditions of release pending the new trial date. Attorney Bailey

stated that she had filed a number of pretrial motions on behalf of Ms Stigall, which were later

withdrawn. See [Doc. 29]. Attorney Bailey asked for leave to file additional motions, or re-file the

previous motions, if the newly released discovery material indicated this would be appropriate.

Attorney Tollison and Attorney Shope joined in the oral motion to extend the deadline for pre-trial

motions as to the new discovery material.



                                                  2


Case 3:07-cr-00157-RLJ-CCS           Document 46 Filed 03/04/08              Page 2 of 5      PageID
                                           #: 147
       Attorney Shope stated that Mr. Manning joins in the motion to continue the trial date.

Attorney Shope stated that he believes it would be in Mr. Manning’s best interest to continue the

trial date. Attorney Shope reported that he has discussed these matters with Mr. Manning and that

Mr. Manning understands he will remain in custody pending the new trial date. Mr. Manning

confirmed his agreement with his counsel’s statements.

       In addition to the issue of discovery, the parties have identified a potential confrontation

clause issue in proceeding with a joint trial of these defendants based on certain incriminating

statements the United States may seek to introduce at trial, specifically citing Bruton v. United

States, 391 U.S. 123 (1968). The parties asked for additional time to review this issue and to file

any necessary pretrial motions relating to joinder and severance.

       Attorney Tollison, Attorney Bailey and Attorney Shope asked the Court for an extension of

the motion cut-off deadline in order to allow a reasonable time for counsel and the defendants to

review the Walmart records and assess the need for pre-trial motions arising therefrom, and also as

to severance. The parties expressed their initial impression that at least one pre-trial motion would

be appropriate in light of the possibly interlocking confessions.

       It was evident from the representations of the parties that there remains a need to resolve

important issues presented by this late discovery material and Bruton issues. The Court finds that

the ends of justice served by pretrial resolution of these matters outweighs the interest of the

defendants and the public in a speedy trial. See 18 U.S.C. § 3161(h)(8)(A). All parties agreed that

all the time between the date of the hearing, February 12, 2008, and the new date of the trial is

properly excludable from the operation of the Speedy Trial Act. Given the approaching February



                                                 3


Case 3:07-cr-00157-RLJ-CCS           Document 46 Filed 03/04/08             Page 3 of 5      PageID
                                           #: 148
19, 2007, trial date, the Court found that the failure to grant a continuance would deprive the

defendants of the time to review discovery material, conduct any follow-up factual investigation,

identify and pursue any appropriate pre-trial motions. See 18 U.S.C. § 3161(h)(1)(F). Should any

pre-trial motions be filed, the Court will need time to review the issues, conduct a hearing if

necessary and issue an Order or a Report and Recommendation to the District Court on the motions.

See 18 U.S.C. § 3161(h)(1)(J). Following this, the parties will need time to file any objections to

the Court’s ruling. Should objections be made, the District Court will need time to rule upon the

report and those objections. Finally, the parties will need time to prepare for trial in light of the

ruling on the issues, whether objections are made or not. At the hearing, the Court found that all

of this could not take place before the February 19, 2008, trial date or in less than three months.

Thus, without a continuance, counsel would not have the reasonable time necessary to prepare for

trial despite their use of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).

       Accordingly, it is ORDERED:

               1. The Motion to Continue Trial [Doc. 36] is GRANTED.

               2. The trial of this matter is reset to May 19, 2008, at 9:00 a.m.
               before the Honorable Thomas W. Phillips, United States District
               Judge.

               3. Pretrial motions on the issue of severance or that may arise as the
               result of the newly disclosed Walmart records shall be filed on or
               before March 12, 2008.

               4. The deadline for responses to any motions will be March 26, 2008.

               5. This Court will conduct a hearing on these pretrial motions March
               31, 2008, at 1:00 p.m.




                                                 4


Case 3:07-cr-00157-RLJ-CCS           Document 46 Filed 03/04/08             Page 4 of 5      PageID
                                           #: 149
       The Court also finds, and the parties agree, that all the time between the February 12, 2008,

hearing and the new trial date of May 19, 2008, is fully excludable time under the Speedy Trial Act

for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(F), (J), and (h)(8)(A)-(B).

       IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




                                                 5


Case 3:07-cr-00157-RLJ-CCS          Document 46 Filed 03/04/08              Page 5 of 5     PageID
                                          #: 150
